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       Attorney for Presidio Technology Capital, LLC




                                 IN THE UNITED STATES BANKRUPTCY COURT

                                        FOR THE DISTRICT OF OREGON

           In Re:                                           Case No. 16-32311-pcm11

           Peak Web, LLC,
                                         Debtor.

           ______________________________________

           Mark Calvert, Litigation Trustee of the Peak
           Web Litigation Trust,                            Adv. Proc. No.18-03047-pcm

                                         Plaintiff,         WITHDRAWAL OF
                                                            DECLARATION OF ROBERT HAWLEY IN
           Presidio Technology Capital, LLC, a Georgia      SUPPORT OF DEFENDANT’S MOTION FOR
           limited liability company,                       S UM MARY J UD G M E N T A N D I N
                                                            OPPOSITION TO PLAINTIFF’S MOTION FOR
                                         Defendant.         SUMMARY JUDGMENT




                    Defendant Presidio Technology Capital, LLC hereby withdraws the DECLARATION OF

       ROBERT HAWLEY IN SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY

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Page 1 -            WITHDRAWAL OF DECLARATION OF ROBERT HAWLEY IN SUPPORT OF
                    DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION TO
                    PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT




                                 Case 18-03047-pcm        Doc 29   Filed 09/12/18
       JUDGMENT AND IN OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY

       JUDGMENT.



       Dated: September 12, 2018                            /s/David B. Gray
                                                            David B. Gray, OSB 842346
                                                            Attorney for Presidio Technology Capital,
                                                            LLC




                                             PROOF OF SERVICE

             I hereby certify that on the date shown below, the foregoing WITHDRAWAL OF
       DECLARATION OF ROBERT HAWLEY IN SUPPORT OF DEFENDANT’S MOTION FOR
       SUMMARY JUDGMENT AND IN OPPOSITION TO PLAINTIFF’S MOTION FOR
       SUMMARY JUDGMENT was served on all ECF participants through the Court’s Case
       Management/Electronic Case File System.

              In addition, I served the foregoing on the person(s) indicated below by mailing a
       copy thereof in a sealed, first class postage prepaid envelope, addressed to each party’s last
       known address and depositing in the U.S. Mail at Beaverton, Oregon on the date set for the
       below.

              Tim Conway
              TonkonTorp LLP
              888 SW Fifth Avenue, Suite 1600
              Portland, Oregon 97204


              Dated: September 12, 2018                     /s/David B. Gray
                                                            David B. Gray, OSB 842346
                                                            Attorney for Presidio Technology Capital,
                                                            LLC




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              DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION TO
              PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT




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